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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


    In re:                                            Chapter 11

    MOM CA Investco LLC, et al.,1                     Case No. 25-10321 (BLS)

                       Debtors.                       (Jointly Administered)


    Mohammad Honarkar and 4G Wireless,
    Inc.,

                       Plaintiffs,
             v.                                       Adv. Pro. No. 25-______

    MOM CA Investco LLC, MOM AS
    Investco LLC, MOM BS Investco LLC,
    Retreat at Laguna Villas, LLC, Sunset Cove
    Villas, LLC, Duplex at Sleepy Hollow,
    LLC, Cliff Drive Properties DE, LLC, 694
    NCH Apartments, LLC, Heisler Laguna,
    LLC, Laguna Festival Center, LLC, 891
    Laguna Canyon Road, LLC, 777 AT
    Laguna, LLC, Laguna Art District
    Complex, LLC, Tesoro Redlands DE, LLC,
    Aryabhata Group LLC, Hotel Laguna, LLC,
    4110 West 3rd Street DE, LLC, 314 S.
    Harvard DE, LLC, Laguna HI, LLC,
    Laguna HW, LLC, The Masters Building,
    LLC, and 837 Park Avenue, LLC,


                       Defendants.



1
 The Debtors in these chapter 11 proceedings, together with the last four digits of each Debtor’s federal tax
identification number, are: MOM CA Investco LLC [6263], MOM AS Investco LLC [6049], MOM BS Investco LLC
[6180], Retreat at Laguna Villas, LLC [2046], Sunset Cove Villas, LLC [9178], Duplex at Sleepy Hollow, LLC
[9237], Cliff Drive Properties DE, LLC [0893], 694 NCH Apartments, LLC [0318], Heisler Laguna, LLC [4709],
Laguna Festival Center, LLC [4073], 891 Laguna Canyon Road, LLC [0647], 777 AT Laguna, LLC [8715], Laguna
Art District Complex, LLC [8316], Tesoro Redlands DE, LLC [2764], Aryabhata Group LLC [7332], Hotel Laguna,
LLC [9580], 4110 West 3rd Street DE, LLC [8641], 314 S. Harvard DE, LLC [2057], Laguna HI, LLC [6408], Laguna
HW, LLC [9470], The Masters Building, LLC [6134], 837 Park Avenue, LLC [3229], and Terra Laguna Beach, Inc.
[2344] (interim). The Debtors’ headquarters are located at 520 Newport Center Drive, Suite 480, Newport Beach, CA
92660.



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               COMPLAINT FOR DECLARATORY JUDGMENT, IMPOSITION OF
                 CONSTRUCTIVE TRUST, AND TURNOVER OF PROPERTY

         Mohammad Honarkar (“Honarkar”) and 4G Wireless, Inc. (“4G” and together with

Honarkar, the “Honarkar Parties” or “Plaintiffs”), by and through their undersigned counsel,

hereby bring this adversary complaint (this “Complaint”) for declaratory judgment, imposition of

a constructive trust, and turnover of property against: (i) Defendants MOM CA Investco LLC,

MOM AS Investco LLC, and MOM BS Investco LLC (collectively, the “MOM JV Entities”),

and (ii) Defendants Retreat at Laguna Villas, LLC, Sunset Cove Villas, LLC, Duplex at Sleepy

Hollow, LLC, Cliff Drive Properties DE, LLC, 694 NCH Apartments, LLC, Heisler Laguna, LLC,

Laguna Festival Center, LLC, 891 Laguna Canyon Road, LLC, 777 AT Laguna, LLC, Laguna Art

District Complex, LLC, Tesoro Redlands DE, LLC, Aryabhata Group LLC, Hotel Laguna, LLC,

4110 West 3rd Street DE, LLC, 314 S. Harvard DE, LLC, Laguna HI, LLC, Laguna HW, LLC,

The Masters Building, LLC, and 837 Park Avenue, LLC. (collectively, the “SPEs” and together

with the MOM JV Entities, “Defendants”),2 and allege as follows:

                                      NATURE OF THE ACTION

         1.       By this action, Plaintiffs seek entry of a judgment declaring that (i) Defendants and

their estates have no equitable or beneficial ownership interest in certain membership interests and

real property currently held by Defendants, (ii) Defendants hold such interests and real property in

trust for the benefit of Plaintiffs, and (iv) Defendants are obligated to immediately transfer any

remaining legal title they may have to Plaintiffs.

         2.       On June 8, 2021, the MOM JV Entities were created through a joint venture (the

“Joint Venture”) between and among Plaintiffs, on the one hand, and limited liability companies



2
 Collectively, the MOM JV Entities and the SPEs comprise the debtors and debtors-in-possession in the Chapter 11
Cases (the “Debtors”).


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created by Continuum Analytics, Inc. (“Continuum”), Mahender Makhijani (“Makhijani”), on

the other hand.3 As part of their contribution to the Joint Venture, Plaintiffs transferred to the

newly-formed MOM JV Entities their membership interests in various limited liability companies,

including nearly all of SPEs, each of which holds title to valuable commercial real estate.

         3.      The Joint Venture was doomed from the start and in early 2023, Plaintiffs

discovered that the Continuum Parties had committed numerous acts of fraud and misconduct

against Plaintiffs, both before and after the Joint Venture was formed. Accordingly, Plaintiffs

commenced an arbitration with JAMS on April 25, 2023 (the “Arbitration”),4 asserting, among

other things, claims for fraudulent inducement, breach of contract, and declaratory relief. Plaintiffs

sought, inter alia, to rescind the transactions creating the Joint Venture, thus returning the

membership interests in the SPE’s to Plaintiffs.

         4.      The Honorable David A. Thompson, a former Associate Justice with the California

Court of Appeals, was designated as the arbitrator (the “Arbitrator”). The Arbitration included

extensive written and oral discovery, pre- and post-hearing briefing, and culminated in a three-

week-long evidentiary hearing held from June 24, 2024, through July 12, 2024, after which all

parties confirmed there was no further evidence for consideration. The record in the Arbitration is

now closed.




3
 As used herein, the term “Continuum Parties” shall refer, collectively, to Makhijani, Deba Shyam (“Shyam”), Jason
Miller, Andrew Stupin, Bhajneet Singh Malik, Continuum, MOM CA Investor Group LLC (“MOM CA Member”),
MOM AS Investor Group LLC (“MOM AS Member”), MOM BS Investor Group LLC (“MOM BS Member,” and
together with MOM CA Member and MOM AS Member, the “MOM Members”), MOM CA Manager LLC (“MOM
CA Manager”), MOM AS Manager LLC (“MOM AS Manager”), and MOM BS Manager LLC (“MOM BS
Manager,” and together with MOM CA Manager and MOM AS Manager, the “MOM Managers”).
4
As used herein, the term “Arbitration” shall refer to the JAMS arbitration proceeding captioned as Honarkar v.
Makhijani, No. 5220003126, as consolidated with the arbitration proceeding captioned as MOM AS Investco LLC v.
Honarkar, No. 5200001122.


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         5.      The Arbitrator issued that certain Partial Interim Award entered in favor of

Plaintiffs on February 21, 2025 in JAMS Arbitration No. 5220003126 (the “Partial Interim

Award”)5, in which the Arbitrator found, among other things, that Makhijani, Continuum, and the

MOM Members fraudulently induced Plaintiffs into signing the agreements for the Joint Venture

and that the MOM Members and MOM Managers breached their obligations under the MOM JV

Entities’ operating agreements. The Partial Interim Award entitles Plaintiffs to elect either

compensatory damages or rescission of the operating agreements and other Joint Venture

agreements in addition to restitution and consequential damages, amongst other remedies. A true

and correct copy of the Partial Interim Award is attached hereto as Exhibit 1.

         6.      Just one week later, on February 28, 2025, the MOM JV Entities filed voluntary

petitions for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

in this Court. On March 10, 2025, the SPEs filed voluntary petitions for relief under chapter 11 of

the Bankruptcy Code in this Court, as well.

         7.      On May 23, 2025, the Arbitrator issued the Partial Final Award (the “Partial Final

Award”). The Partial Final Award incorporates the Partial Interim Award. As referenced in the

Partial Final Award, the Arbitrator’s Ruling on Motion for Attorney Fees and Costs (the “Attorney

Fee Ruling”) was filed contemporaneously with the Partial Final Award and entitles the Honarkar

Parties’ to recover their attorneys’ fees and costs against the Respondents in the amount of

$8,303,510.25 in attorney fees plus $893,916.06 in costs, for a total of $9,197,426.31. True and

correct copies of the Partial Final Award and Attorney Fee Ruling are attached hereto as Exhibit

2 and Exhibit 3, respectively.



5
  Capitalized terms not defined in this Complaint have the meaning given to such terms in the Partial Interim Award,
as defined herein.


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         8.    Under California law, Defendants do not currently have an equitable or beneficial

ownership interest in the SPEs’ membership interests or the real estate owned by the SPEs.

Defendants hold such assets in trust for Plaintiffs’ benefit.

         9.    Accordingly, Defendants are entitled to the immediate turnover of the Investco

Membership Interests and the Real Property (including any Sale Proceeds (as defined herein)), and

Defendants must transfer any remaining legal title they may have to Plaintiffs.

                                 JURISDICTION AND VENUE

         10.   This Court has jurisdiction over this adversary proceeding under 28 U.S.C. §§ 157

and 1334. This is a core proceeding under 28 U.S.C. § 157(b)(2).

         11.   Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

         12.   The statutory predicates for the relief sought in this complaint are 11 U.S.C. §§

105(a) and 541(d) of the Bankruptcy Code and Rule 7001 of the Federal Rules of Bankruptcy

Procedure.

         13.   Pursuant to Rule 7008-1 of the Local Rules of Bankruptcy Practice and Procedure

of the United States Bankruptcy Court for the District of Delaware, Plaintiffs consent to the entry

of a final order or judgment by this Court in connection with this Complaint to the extent it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments

consistent with Article III of the United States Constitution.

                                             PARTIES

         14.   Plaintiff Mohammad Honarkar is an individual with his principal place of residence

in Orange County, California.

         15.   Plaintiff 4G Wireless, Inc. is a California corporation with a principal place of

business located at 303 Broadway Street 104-155, Laguna Beach, CA, 92651. Honarkar wholly

owns and controls 4G.

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         16.   Defendants MOM CA Investco LLC, MOM AS Investco LLC, MOM BS Investco

LLC, Retreat at Laguna Villas, LLC, Sunset Cove Villas, LLC, Duplex at Sleepy Hollow, LLC,

Cliff Drive Properties DE, LLC, 694 NCH Apartments, LLC, Heisler Laguna, LLC, Laguna

Festival Center, LLC, 891 Laguna Canyon Road, LLC, 777 AT Laguna, LLC, Laguna Art District

Complex, LLC, Tesoro Redlands DE, LLC, Aryabhata Group LLC, Hotel Laguna, LLC, 4110

West 3rd Street DE, LLC, 314 S. Harvard DE, LLC, Laguna HI, LLC, Laguna HW, LLC, The

Masters Building, LLC, and 837 Park Avenue, LLC are Delaware limited liability companies with

their principal place of business located at 520 Newport Center Drive, Suite 480, Newport Beach,

CA 92660.

                            FACTS COMMON TO ALL COUNTS

         A.    Honarkar builds his business and real estate portfolio.

         17.   Honarkar moved to the United States from Iran in the mid 1980’s and started a

small cell phone business. That small business ultimately blossomed into 4G—a tremendously

successful enterprise with 160 stores across five states. Although Honarkar sold the business assets

of 4G to Verizon Wireless in January 2016, he retained his 100% ownership of 4G.

         18.   Honarkar used the proceeds from the Verizon sale to invest in luxury commercial

real estate across Laguna Beach, Palm Desert, and surrounding areas. These properties were

purchased in both his individual name, and also through 4G, which held them through various

special purpose limited liability companies.

         B.    The Honarkar Parties are fraudulently induced to join the Joint Venture.

               a.      Honarkar’s financial distress.

         19.   While Honarkar enjoyed early success with his real estate pursuits, the 2020

COVID-19 pandemic severely affected the Honarkar Parties’ operations and, ultimately,

Honarkar’s cash flow from the properties owned by 4G. At the same time, Honarkar was also

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involved in a contentious divorce, which resulted in him entering into a stipulated judgment

whereby he was required to pay his former wife $17.5 million by June 12, 2021.

         20.    Further compounding these pressing financial issues, Honarkar also had a $195

million loan from LoanCore Capital (“LoanCore”) secured by the majority of Honarkar’s real

estate assets (the “LoanCore Loan”) coming due, which Honarkar had also personally guaranteed.

Unfortunately, Honarkar was not able to make a required balloon payment under the loan, which

went into default. See id. at 5-6.

         21.    In January 2021, at the request of Honarkar’s wife, Douglas Wilson was appointed

received over the properties that secured the LoanCore Loan. Shortly thereafter, DIG PFSS LBCP

Holding Company LLC purchased the LoanCore Loan and took swift action to foreclose on the

properties, with foreclosures scheduled to commence on June 15, 2021.

                b.      Honarkar’s search for funding leads him to Makhijani and Continuum.

         22.    With foreclosures looming and a $17.5 million payment due in June 2021 to his

former wife, Honarkar began searching for potential financing and investment opportunities that

could provide him with urgently-needed cash at a time of both global and personal financial

distress.

         23.    One of the funding sources he considered was Nano Banc (“Nano”), one of

Honarkar’s previous lenders. Through this lending relationship, Honarkar was familiar with

Nano’s then-Chief Credit Officer, Anthony Gressak (“Gressak”). Gressak introduced Honarkar

to Makhijani and Continuum, each of whom have deep ties to Nano.

         24.    On May 19, 2021, Nano provided Honarkar with a letter of intent for a $150 million

loan to pay off the LoanCore Loan. But while Nano, though Gressak, was leading Honarkar to

believe that funding was imminent, the reality at the bank was much different. Indeed, Daniel F.

Patrick, Nano’s Person Most Knowledgeable witness in the Arbitration, tested that $150 million

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was “well beyond the bank’s legal lending limit for a single loan” and that Nano “never would

have approved Mr. Honarkar for a $150 million loan[.]”

         25.   At the same time he was negotiating a potential loan from Nano, Honarkar was also

discussing the potential Joint Venture terms with Makhijani and Continuum. Notably, on May 20,

2021, just one day after it provided Honarkar with the letter of intent for the (illusory) $150 million

loan, Nano provided Shyam with a letter of intent for a $20 million loan (the “Nano Loan”) to be

made to the MOM JV Entities and secured by (i) an assignment of membership interests in 689

South Coast Hwy LLC, Laguna HI LLC, and the Masters Building LLC and (ii) deeds of trust

encumbering properties held by these limited liability companies. At the time the letter of intent

for the Nano Loan was conveyed to Shyam, the properties were wholly owned by the Honarkar

Parties, the MOM JV Entities did not exist, and there was no binding agreement in place

between the Honarkar Parties and the Continuum Parties to even form the MOM JV Entities.

         26.   On May 24, 2021, and with time running down until the foreclosures began and his

former wife’s settlement payment came due, the Honarkar Parties and Continuum entered into a

term sheet to form the Joint Venture. The term sheet contemplated that the Honarkar Parties would

contribute their interests in the subsidiary limited liability companies that held some, but not all,

of their real estate portfolio, and Continuum would provide an initial capital contribution of $35

million of “cash equity,” half of which was always intended to be used to pay off Honarkar’s wife.

Continuum was also obligated to secure refinancing to pay off the balance of the LoanCore Loan,

which was then estimated to be approximately $140 million. Because the term sheet was binding

only on Honarkar, he was locked into the Joint Venture, but Continuum was free to pursue other

options.




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               c.      Continuum exerts maximum pressure to obtain Mr. Honarkar’s
                       signature on the rushed joint venture agreements.

         27.   With time continuing to dwindle, Honarkar’s counsel offered to provide initial

operating agreements for the MOM JV Entities. Continuum refused and instead directed its

attorneys to take control of the documents. Incredibly, although Makhijani and Continuum were

aware of Honarkar’s immense time pressure, they elected not to share the draft operating

agreements with Honarkar when they were ready. Instead, on May 28, 2021, they circulated the

operating agreements to one of the banks they were considering using to refinance the LoanCore

Loan. Honarkar and his counsel did not receive them until almost a week later on June 2, 2021—

less than two weeks before the foreclosures were to commence and ten days before the $17.5

million payment to Honarkar’s wife was due.

         28.   The Arbitrator observed that “[e]veryone agrees the JV document negotiation and

drafting process was chaotic and frantic,” and that Continuum, through its employee Michael

Klutchin, pressured Honarkar into providing signature pages before the documents were even

finalized. Throughout the negotiation process, Honarkar repeatedly had to confirm whether his

comments to the documents had been accepted and incorporated—or whether he had even been

solicited for comment at all.

         29.   Predictably, this frenzied negotiation process caused additional delay that Honarkar

could not afford given his impending financial cliff. Ultimately, Continuum was not able to secure

sufficient financing to refinance the LoanCore Loan and, at the suggestion of Makhijani,

Continuum reduced its initial contribution to $30 million to “close the gap”—despite Continuum’s

prior commitment of a $35 million initial contribution under the term sheet. This change resulted

in Honarkar being unable to satisfy his settlement obligation to his former wife, which caused him

to forfeit his former residence.


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         30.   The lead up to closing on the Joint Venture agreements was just as chaotic as the

rest of negotiations, with last-minute blanks in documents and missing exhibits. Most critically,

Exhibit C to the operating agreements—which was to contain the list of limited liabilities that

Honarkar would contribute to the Joint Venture—was not even circulated to Honarkar and his

counsel until 11:00 p.m. on the night before the Joint Venture was to be formed and the LoanCore

refinancing was to occur. And even at that later hour, the list was grossly inaccurate. Instead of

just listing the entities that Honarkar would contribute to the Joint Venture, Makhijani populated

Exhibit C with a comprehensive list of all of the Honarkar Parties’ entities. Strictly read, this would

suggest (incorrectly) that each and every one of Honarkar’s business interests would be transferred

to the Joint Venture.

         31.   Nevertheless, the MOM JV Entities were formed on June 8, 2021. See id. at 9.

         C.    Defendants’ Post-Joint Venture Corporate Structure.

         32.   Following the Joint Venture, Plaintiffs held (and continue to hold) 50% of the

membership interests in each of the MOM JV Entities. See Ex. 4 (Spindler Report) at 2, 19. The

remaining 50% membership interest in MOM CA Investco LLC is held by MOM CA Member,

which is 100% owned by Shyam. The remaining 50% membership interest in MOM AS Investco

LLC is held by MOM AS Member, which is 100% owned by Andrew Stupin. The remaining 50%

membership interest in MOM BS Investco LLC is held by MOM BS Member, which is 100%

owned by Bahjneet Singh Malik.

         33.   The MOM JV Entities hold all of the membership interests in the SPEs, which, in

turn, hold title to various real properties (collectively, the “Real Property”) located in California.

See Ex. 1 (Partial Interim Award) at 3-11.

         34.   Upon information and belief, MOM AS Investco LLC holds the membership

interests in the following SPEs: (1) Retreat at Laguna Villas, LLC; (2) Sunset Cove Villas LLC;

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(3) Duplex at Sleepy Hollow, LLC; (4) Cliff Drive Properties DE, LLC; (5) 694 NCH Apartments

LLC; and (6) Heisler Laguna LLC (collectively, the “MOM AS Membership Interests”). See

Ex. 4 (Spindler Report) at 9.

         35.    Upon information and belief, MOM BS Investco LLC holds the membership

interests in the following SPEs: (1) 891 Laguna Canyon Road, LLC; (2) 777 At Laguna, LLC; (3)

Laguna Art District Complex, LLC; and (4) Laguna Festival Center, LLC (collectively, the

“MOM BS Membership Interests”). See id.

         36.    Upon information and belief, MOM CA Investco LLC holds the membership

interests in the following SPEs: (1) The Masters Building, LLC; (2) 689 S. Coast Hwy, LLC; (3)

837 Park Ave, LLC; (4) Laguna HI, LLC; (5) Laguna HW, LLC; (6) 314 S. Harvard DE, LLC; (7)

4110 W. 3rd St. DE, LLC; (8) Tesoro Redlands, LLC; (9) Cliff Village, LLC; (10) Hotel Laguna,

LLC; (11) Tustin Retail Properties, LLC; (12) Aryabhata Group, LLC (collectively, the “MOM

CA Membership Interests”, and together with the MOM AS Membership Interests and the MOM

BS Membership Interests, the “Investco Membership Interests”). See id.

         37.    The chart below lists the Real Property and their corresponding SPEs, to the best

of Plaintiffs’ knowledge. Because the Continuum Parties have denied Plaintiffs access to the MOM

JV Entities’ books and records for years, Plaintiffs do not currently have a full, up-to-date list of

all the MOM JV Entities’ subsidiaries.

   MOM Debtor                   SPE                         Real Property Address(es)
 MOM AS               Retreat at Laguna        749 Gaviota (729 Ocean Front)
 Investco LLC         Villas, LLC
                      Sunset Cove Villas,      683 Sleepy Hollow Ln, Laguna Beach
                      LLC
                      Duplex at Sleepy         689 Sleepy Hollow Ln, Laguna Beach
                      Hollow, LLC
                      Cliff Drive Properties   150-154 Cliff Dr, Laguna Beach
                      DE, LLC


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                      Aryabhata               4251,4225,4253 Martingale Way;
                      Group, LLC              1701 Corinthian Way;
                                              4200,4220,4250 Scott Drive;
                                              1660 Dove Street, Newport Beach
                      694 NCH                 694 N Coast Hwy, Laguna Beach
                      Apartments, LLC
                      Heisler Laguna, LLC     305-397 North Coast Highway, Laguna Beach

 MOM BS               Laguna Festival         805-859 Laguna Canyon Rd, Laguna Beach
 Investco LLC         Center, LLC
                      891 Laguna Canyon       891 Laguna Canyon Rd, Laguna Beach
                      Road, LLC
                      777 at Laguna, LLC      777 Laguna Canyon Rd, Laguna Beach

                      Laguna Art District     775-793 Laguna Canyon Rd, Laguna Beach
                      Complex, LLC

 MOM CA               The Masters             2711 Pacific Coast Hwy (2713 w Coast Hwy),
 Investco LLC         Building, LLC           Corona Del Mar

                      Laguna HI, LLC          696 S Coast Hwy, Laguna Beach

                      Laguna HW, LLC          688-690 S Coast Hwy, Laguna Beach

                      314 S. Harvard DE,      314 Harvard Blvd, Los Angeles
                      LLC
                      4110 West 3rd Street    4110 West 3rd Street, Los Angeles
                      DE, LLC
                      837 Park Ave, LLC       837 Park Ave, Laguna Beach
                      Tesoro Redlands DE,     106 W Pennsylvania Ave, Redlands
                      LLC
                      Hotel Laguna, LLC       421 S Coast Hwy, Laguna Beach


         D.    Honarkar discovers the fraudulent and invalid Nano Loan and the Continuum
               Parties retaliate.

         38.    Not surprisingly, the relationship between the Honarkar Parties and the Continuum

Parties remained strained, and by early 2023, Honarkar was evaluating his options to exit the Joint

Venture. While sourcing alternative financing, Honarkar discovered for the first time a deed of

trust dated as of June 7, 2021 and securing the Nano Loan and encumbering one of the MOM JV

Entities’ properties. With that knowledge, he ran title searches on the MOM JV Entities’ other

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properties and discovered, again for the first time, the assignments of the MOM JV Entities’

membership interests in 689 South Coast Hwy LLC, Laguna HI LLC, and The Masters Building

LLC, as well as other previously undisclosed deeds of trusts, loans, and other transactions

encumbering and involving certain of the other SPEs and properties. Honarkar’s searching also

uncovered the fact that the $30 million initial contribution from the Continuum Parties (which had

already been reduced from the agreed-upon $35 million in the term sheet) had been funded in large

part by the Nano Loan taken out by the MOM JV Entities themselves—before they were even

formed and before Honarkar contributed any properties thereto.

           39.     Promptly upon discovering the Nano Loan and other issues, Honarkar sent a letter

to Makhijani and Continuum raising his concerns. This letter went unanswered.

           40.     After his inquiry was ignored, Honarkar, through his counsel, sent a formal books

and records demand to the MOM JV Entities on March 22, 2023. On April 3, 2023, the Continuum

Parties indicated that they would provide documentation relating to the Nano Loan—but only if

Honarkar withdrew his inspection demands. Honarkar declined, and instead filed a petition in Los

Angeles Superior Court to access those books and records.6

           41.     Honarkar’s books and records demand marked a turning point in his relationship

with the Continuum Parties. On March 29, 2023, the Continuum Parties utilized their power as

Managing Managers under the MOM JV Entities’ operating agreements to purport to terminate

Honarkar as Administrative Manager of the Joint Venture. But they did not stop there.

           42.     Two days later, a group of armed individuals working at the behest of the

Continuum Parties entered and took control of numerous properties owned by the MOM JV




6
    That request was granted over the Continuum Parties’ objection on November 9, 2023.


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Entities, including the Hotel Laguna, a Holiday Inn Hotel in Laguna Beach, and several other

vacation rentals.

         43.   Then they confronted Honarkar again at the Hotel Laguna in May 2023, which

resulted in the assault arrest of an agent of the Continuum Parties. But the Continuum Parties were

still not done with their scorched-Earth crusade against Honarkar. During the night of June 30,

2023 and morning of July 1, 2023, the Continuum Parties dispatched their armed agents—again—

to take physical control of another restaurant operated by Honarkar.

         44.   Later in July 2023, during a time at which Honarkar and certain of the Continuum

Parties were at a scheduled court hearing, the Continuum Parties arranged for more than one dozen

men in black to break through 4G’s corporate headquarters’ glass doors with a hammer and remove

physical documents marked “LEGAL,” computers, and other property from the building.

         E.    The Arbitration and the Partial Awards

         45.   On April 25, 2023, Plaintiffs filed their original Demand and Statement of Claim

commencing the Arbitration with JAMS, seeking the rescission of the MOM JV Entities’ operating

agreements or, alternatively, the appointment of a receiver over the MOM JV Entities,

compensatory and punitive damages, declaratory judgment, and an injunction reinstating Honarkar

as the administrative manager. See id. at 14.

         46.   In the Arbitration, Plaintiffs asserted claims against Makhijani, Continuum, the

MOM Members, and the MOM Managers for fraudulent inducement, breach of contract, and direct

forcible entry and forcible detainer, as well as claims against Nano for conspiracy to commit and

aiding and abetting fraudulent inducement. See id. at 3. Plaintiffs sought, inter alia, the rescission

of the agreements creating the MOM JV entities, an accounting of the MOM JV Entities’ books

and records by an independent third party, and declaratory relief as to the parties’ respective rights,

duties, powers, and obligations under the MOM JV Entities’ operating agreements. See id. at 41.

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         47.     The Continuum Parties—including the Debtors themselves—commenced their

own arbitration against Mr. Honarkar alleging claims for among other things, trespass, conversion,

and intentional interference with contractual relations. This arbitration was consolidated with the

Arbitration, and the Continuum Parties’ claims were addressed (and denied) in the Arbitration as

counterclaims against Honarkar. See id. at 44.

         48.     The Arbitration culminated in a three-week-long evidentiary hearing held from

June 24, 2024, through July 12, 2024. See id. at 44. The Arbitrator found that, throughout the

course of the Arbitration, the Continuum Parties and their witnesses repeatedly presented false

evidence and testimony. See id. at 17-20.

         49.     On February 21, 2025, the Arbitrator issued the Partial Interim Award. See id. at 3.

         50.     The Arbitrator found that Plaintiffs proved that Makhijani, Continuum, and the

MOM Members had fraudulently induced Plaintiffs into signing the agreements for the Joint

Venture, and that the MOM Members and the MOM Managers breached their obligations under

the MOM JV Entities’ operating agreements. See id. at 16-26, 27-30, 47.

         51.     The Arbitrator further found that the Continuum Parties proved none of their claims

against Mr. Honarkar. See id. at 44.

         52.     Accordingly, the Arbitrator determined that Plaintiffs are entitled to elect the

alternative remedies of either compensatory damages or rescission of the Joint Venture agreements

in addition to restitution and consequential damages. The Arbitrator further determined that

Plaintiffs were entitled to declaratory relief and the accounting7 that they had requested. See id. at

44-46.



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  The Debtors have indicated that they are negotiating a protocol for the accounting to be conducted, but to date the
accounting has not yet commenced and the protocol has not been discussed in several weeks.


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           53.      One week after the Partial Interim Award, Defendants filed for Chapter 11

bankruptcy on behalf of Terra Laguna Beach, Inc. (“Terra”)—one of the entities at issue on

Plaintiffs’ declaratory relief claim, on which Plaintiffs prevailed. In so doing, Defendants took the

position that the Award had not determined that Terra and the other entities were never transferred

to the MOM JV’s.            Defendants took this position notwithstanding the fact that, in the Partial

Interim Award, the Arbitrator characterized Plaintiffs’ declaratory relief claim as seeking, inter

alia, an Order that various entities, including Terra, “were never intended by the parties to be

Contributed Entities to the JV….” See Ex. 1 (Partial Interim Award) at 43.

           54.      Because of Defendants’ position, Plaintiffs were compelled to seek clarification

from the Arbitrator on his ruling on the declaratory relief claim. On May 12, 2025, the Arbitrator

granted Plaintiffs’ request for clarification, stating expressly that “the Declaratory Relief Entities

(including Terra Laguna Beach, Inc.) are not now and never have been owned by the MOM JV

Entities.” See Ex. 5 (5/12/25 Order) at 2.8

           55.      On May 23, 2025, the Arbitrator issued the Attorney Fee Ruling, granting

Plaintiffs’ post-hearing Motion for Attorneys’ Fees and Costs. In so doing, the Arbitrator ordered

that Plaintiffs were entitled to recover from Defendants $8,303,510.25 in attorney fees plus

$893,916.06 in costs, for a total of $9,197,426.31. See Ex. 3 (Att’y Fee Ruling) at 12.

           56.      Most importantly, on May 23, 2025, the Arbitrator issued the Partial Final Award.

The Partial Final Award is identical to the March 2025 Award, except that it also includes the

Arbitrator’s decision on Plaintiffs’ motion for attorneys’ fees and costs. As set forth expressly in

the Partial Final Award, the Award is to “be considered final, for purposes of a judicial proceeding

to enforce, modify or vacate…” See Ex. 2 (Partial Final Award) at 46.


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    The Arbitrator’s May 12, 2025 Order is attached hereto as Ex. 5.


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         57.     Plaintiffs intend to continue to pursue their rights and remedies for their now-

proven claims against the Continuum Parties.

                                       COUNT I
       (Declaratory Judgment Under 11 U.S.C. § 541(d) Against the MOM JV Entities)

         58.     Plaintiffs incorporate all preceding allegations as if set forth fully herein.

         59.     Section 541(d) of the Bankruptcy Code provides, in relevant part, as follows:

                 Property in which the debtor holds, as of the commencement of the
                 case, only legal title and not an equitable interest, such as a mortgage
                 secured by real property, or an interest in such a mortgage, sold by
                 the debtor but as to which the debtor retains legal title to service or
                 supervise the servicing of such mortgage or interest, becomes
                 property of the estate under subsection (a)(1) or (2) of this section
                 only to the extent of the debtor's legal title to such property, but not
                 to the extent of any equitable interest in such property that the debtor
                 does not hold.

11 U.S.C. § 541(d) (emphasis added).

         60.     Applicable state law determines a debtor’s interest in property.

         61.     As alleged above, under California law, the MOM JV Entities do not hold any

equitable or beneficial ownership interest in the Investco Membership Interests because such

interests were procured by fraud perpetrated against the Honarkar Parties.

         62.     The Investco Membership Interests are the property of the Honarkar Parties and are

not property of the Debtors’ estates.

                                        COUNT II
               (Declaratory Judgment Under 11 U.S.C. § 541(d) Against the SPEs)

         63.     Plaintiffs incorporate all preceding allegations as if set forth fully herein.

         64.     Plaintiffs were fraudulently induced into transferring the Investco Membership

Interests in the SPEs, which SPEs held title to the underlying Real Property, to the MOM JV

Entities.



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           65.     The SPEs held bare legal title to the Real Property prior to the filing of the Chapter

11 Cases, and held those interests in trust for Plaintiffs because of the fraud committed by the

Continuum Parties.

           66.     The Real Peal Property is the property of the Honarkar Parties, and is not property

of the Debtors’ estates.

                                             COUNT III
               (Imposition of a Constructive Trust and Turnover of Any Sale Proceeds)

           67.     Plaintiffs incorporate all preceding allegations as if set forth fully herein.

           68.     Plaintiffs seek the imposition of a constructive trust upon the Investco Membership

Interests and the Real Property currently held by the MOM JV Entities and the SPEs, respectively,

for the benefit of Plaintiffs.

           69.     Federal and California State Courts will impose a constructive trust against a party

that has engaged in inequitable conduct, such as fraud, or where holder of the legal title may not

in good conscience retain the beneficial interest therein.

           70.     The principal circumstances where constructive trusts are imposed are set forth

in California Civil Code Sections 2223 and 2224. Section 2223 provides that “[o]ne who

wrongfully detains a thing is an involuntary trustee thereof, for the benefit of the owner.” Section

2224 states that “[o]ne who gains a thing by fraud, accident, mistake, undue influence, the violation

of a trust, or other wrongful act, is, unless he or she has some other and better right thereto, an

involuntary trustee of the thing gained, for the benefit of the person who would otherwise have

had it.”

           71.     “A constructive trust is an involuntary equitable trust created by operation of law

as a remedy to compel the transfer of property from the person wrongfully holding it to the rightful

owner. The essence of the theory of constructive trust is to prevent unjust enrichment and to


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prevent a person from taking advantage of his or her own wrongdoing.” Communist Party of U.S.

v. 522 Valencia, Inc., 35 Cal.App.4th 980, 990 (Cal. Ct. App. 1995) (internal citations omitted).

         72.   A party seeking imposition of a constructive trust must show (1) the existence of a

res (property or some other interest in property), (2) the right to that res, and (3) the wrongful

acquisition or detention of the res by another party who is not entitled to it. Mattel, Inc. v. MGA

Entertainment, Inc. (citing Communist Party of U.S., 35 Cal.App.4th at 990).

         73.   In the Partial Interim Award, the Arbitrator found that Plaintiffs proved that

Makhijani, Continuum, and the MOM Members had fraudulently induced Plaintiffs into signing

the agreements for the Joint Venture, and that the MOM Members and the MOM Managers

breached their obligations under the MOM JV Entities’ operating agreements; accordingly, the

Arbitrator determined that Plaintiffs are entitled to elect the alternative remedies of either

compensatory damages or rescission of the Joint Venture agreements in addition to restitution and

consequential damages, as well as the declaratory relief and accounting that they had requested,

and attorneys’ fees and costs. Under California Civil Code Section 2224 “[o]ne who gains a thing

by fraud, accident, mistake, undue influence, the violation of a trust, or other wrongful act, is,

unless he or she has some other and better right thereto, an involuntary trustee of the thing gained,

for the benefit of the person who would otherwise have had it.”

         74.   The Plaintiffs have sought relief from the bankruptcy stay in order to have the

Partial Interim Award confirmed by the California Court.

         75.   In the event the Debtors sell any portion of the Real Property, the Honarkar Parties

are entitled to any such sale proceeds and, after payment of all allowed secured claims related to

such Real Property, such sale proceeds shall be held in trust for the benefit of whomever is




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ultimately deemed to be the 100% owner of the Debtors after conclusion of the accounting and

election of remedies in the Arbitration (the “Sale Proceeds”).

           76.    The Honarkar Parties are thus entitled to the immediate imposition of a constructive

trust on the Investco Membership Interests and the Real Property currently held by the MOM JV

Entities and the SPEs, and the turnover of same (as well as the turnover of any Sale Proceeds).

                                           COUNT IV
                           (Turnover of Property Against all Defendants)

           77.    Plaintiffs incorporate all preceding allegations as if set forth fully herein.

           78.    Defendants are obligated to immediately transfer any remaining legal title they

possess in the Investco Membership Interests and/or the Real Property to Plaintiffs, and to turn

over any Sale Proceeds.

           WHEREFORE, Plaintiffs respectfully request that the Court award the following relief:

                          a.      Entry of a declaratory judgment stating that under §541(d) of the

Bankruptcy Code and applicable California state law: (i) the MOM JV Entities’ estates do not have

an equitable or beneficial ownership interest in the Investco Membership Interests; (ii) the SPEs’

estates do not have an equitable or beneficial ownership interest in the Real Property, (iii) that the

Investco Membership Interests and the Real Property are not property of the Debtors’ estates, and

(iv) that the Investco Membership Interests and the Real Property are property of the Honarkar

Parties;

                          b.      Entry of an order imposing a constructive trust upon the Investco

Membership Interests and the Real Property (including any Sale Proceeds) currently held by the

MOM JV Entities and the SPEs, respectively, for the benefit of Plaintiffs, and the immediate

turnover of same;




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                       c.     Entry of an order requiring the MOM JV Entities and SPEs to

immediately transfer any remaining legal title they possess in the Investco Membership Interests

and the Real Property to Plaintiffs; and

                       d.     Such other and further relief as the Court deems just and proper.

 Dated: May 27, 2025                           POLSINELLI PC
 Wilmington, Delaware

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